

People v Doctor (2025 NY Slip Op 02281)





People v Doctor


2025 NY Slip Op 02281


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Webber, J.P., Friedman, González, Scarpulla, Michael, JJ. 


Ind No. 73588/22|Appeal No. 3900|Case No. 2022-04556|

[*1]The People of The State of New York, Respondent, 
vShamir Doctor, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Jody Ratner of counsel), and Kramer Levin Naftalis &amp; Frankel LLP, New York (Katharine Keane of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Stacie Nadel of counsel), for respondent.



Judgment, Supreme Court, New York County (Neil E. Ross, J.), rendered September 16, 2022, unanimously affirmed.
Although we find that defendant did not make a valid waiver of the right to appeal, we perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 17, 2025








